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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


 UNITED STATES OF AMERICA,

                Plaintiff,

 v.                                                   NO. 8:25-cr-00008-SDM-NHA-1

 OWEN MCKAY SHEED,

                Defendant.



                   UNOPPOSED MOTION TO CONTINUE SENTENCING

          Comes now, Defendant, Owen McKay Sheed, pursuant to Local Rule 3.08, by counsel, K.

 Michael Gaerte, and hereby respectfully requests that Defendant’s Sentencing, currently set in this

 matter for April 24, 2025, at 9:00 a.m., be continued. The undersigned states the following in the

 furtherance thereof:


          1.    Mr. Sheed was charged by Information with one count of Mail Fraud Conspiracy

 in violation of 18 U.S.C. §1341 on January 7, 2025. Dkt. 1.

          2.    On January 24, 2025, this Court conducted an Initial Appearance as well as a

 Change of Plea hearing. Dkt. 13. Mr. Sheed was released to pretrial release with specific

 conditions. Id.

          3.    On February 11, 2025, this Court set this matter for Sentencing on April 24, 2025

 at 9:00 a.m.

          4.    Following Mr. Sheed’s Guilty Plea Hearing, on February 4, 2025, the Government

 unsealed an Indictment on a related case, United States v. Shimon Soffer, 8:25-cr-00038-VMC-

 AEP-1.

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        5.      The undersigned counsel believes that it is in Mr. Sheed’s best interest to seek delay

 in sentencing in order to allow him sufficient time to comply with the terms of his Plea Agreement,

 specifically focused on his duties to the United States.

        6.      In addition, Mr. Sheed recently graduated from college, and is very recently set to

 begin employment in his career-focused field. The undersigned counsel respectfully submits that

 it would benefit Mr. Sheed to start employment prior to sentencing in this matter.

        7.      This matter has never been previously continued.

        8.      The undersigned counsel and Assistant United States Attorney Carlton Gammons

 have conferred regarding this request. The United States does not oppose this Motion.

        9.      This Motion is not intended to unnecessarily delay these proceedings, but rather

 seeks to expedite a final and just resolution, including the potential for a post-sentencing reduction

 from the United States if applicable.

        10.     Pursuant to Local Rule 3.08, the undersigned counsel submits that there is good

 cause shown for a continuance of this matter for at least ninety (90) days.

        WHEREFORE, the Defendant, by counsel, respectfully requests that the his Sentencing

 currently set for April 24, 2025, beginning at 9:00 a.m., be continued.


                                                /s/ K. Michael Gaerte
                                                K. Michael Gaerte
                                                Attorney for the Defendant




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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the foregoing has been furnished to the Office of the

 United States Attorney via CM/ECF, this 14 day of March, 2025.


                                                  /s/ K. Michael Gaerte
                                                  K. Michael Gaerte
                                                  Attorney for the Defendant




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